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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

                                                               )
    In re:                                                     )   Chapter 11
                                                               )
    COVIA HOLDINGS CORPORATION,                                )   Case No. 20-33295 (DRJ)
    et al.,1                                                   )
                                                               )
                               Debtors.                        )   (Jointly Administered)
                                                               )
                                                               )
    COVIA HOLDINGS CORPORATION,                                )
                   Plaintiff,                                  )
                                                               )
                              v.                               )   Adversary No. _________
                                                               )
    SAND REVOLUTION II, LLC and                                )
    FEVID TRANSPORT LLC,                                       )
                   Defendants.                                 )
                                                               )

      DEBTORS’ COMPLAINT FOR TURNOVER OF PROPERTY UNDER SECTION
      542 AND FOR VIOLATION OF THE AUTOMATIC STAY UNDER SECTION 362


TO CHIEF UNITED STATES BANKRUPTCY JUDGE DAVID R. JONES:

             COMES NOW Covia Holdings Corporation (“Covia”), and pursuant to sections 362 and

542 of title 11 of the United States Code (the “Bankruptcy Code”) and Rule 7001(1) of the Federal

Rules of Bankruptcy Procedure (“Bankruptcy Rules”), hereby files its Complaint (the

“Complaint”) against Sand Revolution II, LLC and Fevid Transport LLC (collectively, “Sand

Revolution” and/or “Defendants”).




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      Due to the large number of Debtors in the above-captioned chapter 11 cases, for which joint administration has
      been granted, a complete list of the Debtors and the last four digits of their tax identification, registration, or like
      numbers is not provided herein. A complete list of such information may be obtained on the website of the
      Debtors’ proposed claims and noticing agent at http://cases.primeclerk.com/Covia. The location of Debtor Covia
      Holdings Corporation’s principal place of business and the Debtors’ service address is: 3 Summit Park Drive,
      Suite 700, Independence, Ohio 44131.
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                                  NATURE OF THE ACTION

       1.      In this action, Covia seeks the turnover of hundreds of thousands of dollars of funds

that Covia advanced to the Defendants as part of a commercial relationship that Defendants

unilaterally terminated in early May 2020. Covia also seeks a finding that Defendants have

willfully violated the automatic stay by refusing to return Covia’s funds in their possession.

       2.      Between November 2018 and March 2019, Covia advanced $15 million to

Defendants, to be applied against certain charges for Covia’s use of Defendants’ frac sand delivery

systems. The remaining balance of the advanced funds today is $12,766,700.

       3.      The parties’ agreement obligates Defendants to return any remaining balance of

Covia’s advanced funds no later than November 2021. Upon any early termination of the parties’

agreement, however, Defendants are required to return to Covia at least $100,000 per month of the

advanced funds, beginning at the time of the termination, until November 2021, at which time

Defendants must repay the then-outstanding balance in full.

       4.      Despite having terminated the contract in early May 2020, Defendants have refused

to return to Covia any of the advanced funds. As of the filing of this Complaint, Defendants owe

Covia $300,000 for May, June, and July, with another $100,000 due in August, and another

$100,000 each month thereafter, until November 2021. Defendants have admitted that the contract

requires them to return $100,000 monthly. These funds belong to the Debtors’ estates.

       5.      Covia and Defendants are involved in separate litigation, currently pending in state

court and subject to the automatic stay. At issue in that lawsuit is whether Defendants wrongfully

terminated the parties’ contract. This turnover action does not depend on the outcome of that

lawsuit. Whether or not Defendants breached the contract by improperly terminating it in May




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2020, Defendants were required to return at least $100,000 per month of Covia’s money, beginning

when Defendants terminated the contract.

       6.      Rather than return the advanced funds to Covia, Defendants have decided to

“offset” or “recoup” the $100,000 payments against prepetition contract claims that are also at

issue in the stayed state court action. Defendants do not have any right under the contract, Texas

common law, Texas statutes, or the Bankruptcy Code to an offset or recoupment against funds that

Covia advanced.

       7.      Defendants’ refusal to return Covia’s $300,000 of advanced funds violates the

automatic stay, which prohibits anyone from “exercis[ing] control” over the Debtors’ property.

The automatic stay also expressly prohibits “the setoff of any debt owing to the debtor that arose

[prepetition] against any claim against the debtor.” Covia has notified Defendants that their refusal

to turn over the $300,000 that belongs to the Debtors violates the automatic stay. Defendants

nevertheless refuse to comply with the automatic stay and return the funds.

                                 JURISDICTION AND VENUE

       8.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This

matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2).

       9.      Venue in this Court is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       10.     The basis for the relief requested herein is in sections 362 and 542 of title 11 of the

Bankruptcy Code.

       11.     Plaintiff consents to entry of final orders or judgment by this Court if it is

determined that this Court, absent consent of the parties, cannot enter final orders or judgment

consistent with Article III of the United States Constitution.




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                                                  PARTIES

        12.     Plaintiff is a Delaware corporation with its principal place of business in Ohio.

Covia may be served through its counsel of record.

        13.     Sand Revolution II, LLC is a Texas limited liability company doing business in

Texas that may be served through (i) its registered agent, Capitol Corporate Services, Inc., at 206

E. 9th Street, Suite 1300, Austin, TX 78701; and (ii) its counsel of record, Patrick H. Autry, at

Branscomb PLLC, 8023 Vantage Drive, Suite 506, San Antonio, TX 78230.

        14.     Fevid Transport LLC is a Nevada limited liability company doing business in Texas

that may be served through (i) its registered agent, Capitol Corporate Services, Inc., at 206 E. 9th

Street, Suite 1300, Austin, TX 78701; and (ii) its counsel of record, Patrick H. Autry, at Branscomb

PLLC, 8023 Vantage Drive, Suite 506, San Antonio, TX 78230.

                                    FACTUAL ALLEGATIONS

        15.     On June 29, 2020, Covia and 27 affiliated debtors (collectively, the “Debtors”) each

filed a voluntary petition for relief under chapter 11 of the United States Bankruptcy Code in the

United States Bankruptcy Court for the Southern District of Texas. The Debtors are operating

their businesses and managing their properties as debtors in possession pursuant to sections

1107(a) and 1108 of the Bankruptcy Code.

        16.     Defendants provide “last-mile” frac sand solutions to energy E&P companies in the

Permian Basin for fracking oil and gas wells. Defendants provide these last-mile services through

the use of proprietary “Systems,” which include equipment like trucks, conveyors, and silos to

facilitate delivery of frac sand to well sites.




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       The Contract

       17.    On November 21, 2018, Covia and the Defendants executed two agreements for

Covia’s use of Defendants’ systems: (1) a Master Agreement; and (2) a Supplement to the Master

Agreement (the “Supplement,” and together with the Master Agreement, the “Contract”). The

Master Agreement and Supplement are attached hereto as Exhibit A and Exhibit B, respectively.

Texas law governs the Contract.

       18.    Under the Contract, Covia pays Defendants for the use of up to five Systems and

Defendants’ services associated with those Systems. Covia paid Defendants an advance of $15

million (the “Advance”). For each System, Defendants would apply up to $100,000 per month in

funds from the Advance toward Covia’s monthly invoices (the “Amortization Discounts”).

Defendants are required to return to Covia the remaining balance of the Advance (after the

Amortization Discounts) (the “Advance Balance”) in immediately available funds no later than

November 21, 2021. This obligation survives the termination of the Contract.

       19.    If Defendants terminate the Contract before November 21, 2021, however, the

Contract requires Defendants to return immediately the Advance Balance. But if Defendants

terminate the Contract pursuant to Sections 3.2 or 3.4 of the Master Agreement, Defendants may

instead return the Advance Balance through installments of $100,000 per month until November

21, 2021, when the full remaining Advance Balance is due.

       20.    In other words, upon termination, the Contract requires that Defendants

either: (1) repay the full Advance Balance, or (2) repay the Advance Balance through $100,000

per month installments, culminating in immediate repayment of the remaining Advance Balance

in November 2021.




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       Contract Termination

       21.      On May 4, 2020, Defendants sent Covia a letter stating they were immediately

terminating the Contract based on Section 3.2(c) of the Master Agreement due to Covia’s alleged

insolvency. On May 12, 2020, Defendants sent Covia a letter stating they were also terminating

the Contract based on Section 3.2(a) of the Master Agreement due to Covia’s alleged breach of

contract.

       22.      Separately, Defendants initiated an action in Texas state court on May 4, 2020,

seeking a declaratory judgment that Covia was insolvent.         Defendants later amended their

complaint to seek a declaration that the Contract was properly terminated and to add a breach of

contract claim based on Covia’s alleged failure to pay certain fees under the Agreement. Covia

disputes Defendants’ claims in that lawsuit and does not seek through this Complaint to adjudicate

the pending state-court dispute.

       Defendants’ Refusal to Turnover Property of Debtor’s Estate

       23.      The undisputed Advance Balance is $12,766,700. At a minimum, under the terms

of the Contract, Defendants were required to return the Advance Balance in $100,000 monthly

installments beginning on May 4, 2020.

       24.      In a June 12, 2020 letter from Defendants to Covia, Defendants acknowledged that,

“[i]n accordance with the contract, Sand Revolution has and will pay $100,000 to Covia each

month in satisfaction of its repayment obligations.”

       25.      Instead of returning to Covia the Advance through the required $100,000 monthly

installments, however, Defendants stated that they would “offset this amount” against disputed

prepetition fees that are the subject of the Texas state-court lawsuit. To date, Defendants have not

returned even one dollar of Covia’s Advance.

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       26.     Defendants have no right under the Contract, Texas common law, or Texas statutes

to “offset” the Advance that Defendants must return to Covia.

       27.     On June 30, 2020, Covia filed in the state-court lawsuit a suggestion of bankruptcy,

which put Defendants on notice of Covia’s bankruptcy and the automatic stay.

       28.     On July 27, 2020, Covia sent Defendants a letter demanding that Defendants

promptly return to Covia $300,000 of the remaining outstanding Advance—the minimum amount

that Defendants owe Covia, given Defendants’ obligation to repay at least $100,000 per month

from May 4, 2020 forward. Covia also informed Defendants that exercising control over funds

that belong to Covia, and offsetting repayment of funds that belong to Covia against Defendants’

prepetition contract claims, violate the automatic stay under 11 U.S.C. §§ 362(a)(3), (6), (7).

       29.     On July 30, 2020, Defendants responded to Covia’s letter and again confirmed that

Defendants terminated the contract on May 4, 2020. Defendants also confirmed that they owe

$100,000 monthly repayments of the Advance Balance. But Defendants invoked the concept of

recoupment to excuse their failure to make the $100,000 monthly payments since the imposition

of the automatic stay.

       30.     The equitable defense of recoupment is an exception to the Bankruptcy Code’s rule

of treating unsecured creditors equally and is therefore narrowly construed. That defense is

inapplicable here.

                                            COUNT I

                         (Turnover of Estate Property — 11 U.S.C. § 542)

       31.     Covia repeats and re-alleges the allegations contained in paragraphs 1-30 herein.




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       32.     Under the Contract, it is undisputed that Defendants must at least return Covia’s

Advance in the amount of $100,000 per month beginning May 4, 2020, with the remaining

Advance Balance due in full on November 21, 2021.

       33.     As of the date of this Complaint, Defendants are improperly in possession, custody,

and control of at least $300,000 of the Advance that Defendants are required to repay to Covia.

       34.     This $300,000 of the Advance is property of the Debtors’ estate within the meaning

of 11 U.S.C. § 542.

       35.     Each Defendant is not a “custodian” within the meaning of 11 U.S.C. § 543.

       36.     Under section 542 of the Bankruptcy Code, an entity in possession of a debtor’s

property or an entity that owes a debt to the debtor shall deliver such property or pay such debt.

       37.     Section 105(a) of the Bankruptcy Code authorizes this Court to take all actions that

are “necessary and appropriate to carry out the provisions of this title.”

       38.     Defendants do not have a right to offset the amounts owed to Covia.

       39.     Covia is therefore entitled to an order and judgment under section 542 of the

Bankruptcy Code requiring Defendants to turn over $300,000 to Covia as of the date of this

Complaint and any other amounts that have accrued through the date of judgment.

                                            COUNT II

                        (Violation of Automatic Stay — 11 U.S.C. § 362)

       40.     Covia repeats and re-alleges the allegations contained in paragraphs 1-39 herein.

       41.     The Debtors filed these chapter 11 cases on June 29, 2020. Covia provided notice

of these chapter 11 cases and of the automatic stay to Defendants on June 30, 2020.

       42.     As of the date of this Complaint, Defendants have wrongfully withheld property of

the estates of the Debtors in the amount of at least $300,000.

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        43.    Defendants have apparently withheld repayment of the Advance because

Defendants assert they are entitled to offset this debt against Defendants’ disputed, prepetition

breach of contract claim.

        44.    Section 362(a)(3) of the Bankruptcy Code prohibits a party from “exercis[ing]

control over property of the estate.”

        45.    Section 362(a)(6) of the Bankruptcy Code prohibits a party from “any act to collect,

assess, or recover a claim against the debtor that arose” prepetition.

        46.    Section 362(a)(7) of the Bankruptcy Code prohibits a party from “the setoff of any

debt owing to the debtor that arose [prepetition] against any claim against the debtor.”

        47.    Defendants, with notice of the Covia’s chapter 11 filing, willfully and knowingly

violated section 362(a) of the Bankruptcy Code.

        48.    Pursuant to section 362(k)(1), Covia is entitled to recover actual damages, including

costs and attorneys’ fees, and punitive damages against Defendants for violating the automatic

stay.

                                 RESERVATION OF RIGHTS

        49.    Covia reserves all rights against Defendants and any and all third parties to assert

claims, rights, and causes of action for legal or equitable relief in any way relating to damages or

harm done to and incurred by Covia in any way relating to the Contract, and to seek to recover the

full amount of the outstanding balance of the Advance.




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                                      RELIEF REQUESTED

         WHEREFORE, Covia requests that the Court enter judgment granting Covia the following

 relief against the Defendants:

         (i)     Entry of an order under section 542 of the Bankruptcy Code directing Defendants
                 to turn over at least $300,000 to Covia, corresponding to the undisputed monthly
                 repayments due from May, June, and July 2020, and any other amounts that have
                 accrued through the date of judgment;

         (ii)    A finding under section 362(a) of the Bankruptcy Code that Defendants are in
                 violation of the automatic stay;

         (iii)   Entry of an order that Defendants pay actual damages, including costs and
                 attorneys’ fees, and punitive damages against Defendants; and

         (iv)    Any other relief at law or in equity as to which Covia may be justly entitled.


Houston, Texas
July 31, 2020

/s/ Matthew D. Cavenaugh
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